                                                                                         08/26/2024




       IN THE SUPREME COURT FOR THE STATE OF MONTANA

                                  No. DA 24-0346
IN THE MATTER OF:

B.B., C.B. AND A.B.,

       Youths In Need Of Care.

                                      ORDER

             Upon consideration of the Motion to Withdraw as Counsel of Record,

and with good cause appearing therefore,

      IT IS HEREBY ORDERED that Mother and Appellant in this matter,

M.A.F., shall file a response to this motion within thirty (30) days of the date of

this Order. The response must be served upon all counsel of record, including the

Attorney General, the County Attorney, and the Appellate Defender’s Office.

IT IS FURTHER ORDERED that the Clerk of this Court shall give notice of this

Order by mail to all counsel of record and to Mother and Appellant, M.A.F. at that

person’s last known address.




                                                                          Electronically signed by:
                                                                                Mike McGrath
                                                                   Chief Justice, Montana Supreme Court
                                                                               August 26 2024
